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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

 UNITED STATES OF AMERICA                         §
                                                  §
 V.                                               §            CASE NO.2:10-CR-5-3 (TJW-CE)
                                                  §
 VICTOR TORRES                                    §

               ORDER ADOPTING MAGISTRATE JUDGE’S REPORT AND
                         FINDING DEFENDANT GUILTY

        On this day, the court considered the Findings of Fact and Recommendation of United States

 Magistrate Judge Charles Everingham IV regarding Defendant’s plea of guilty and allocution to

 Count 1 of a first superseding indictment with a violation of 21 U.S.C. § 846, conspiracy with intent

 to distribute heroin. Having conducted a proceeding in the form and manner prescribed by Fed. R.

 Crim. P. 11, the Magistrate Judge recommends that the court accept the guilty plea of the Defendant.

 No objections were filed to the Findings of Fact and Recommendation. The court is of the opinion

 that the Findings of Fact and Recommendation should be accepted.

        It is accordingly ORDERED that the Findings of Fact and Recommendation of the United

 States Magistrate Judge, filed November 5, 2010, are hereby ADOPTED.

        It is further ORDERED that, pursuant to Defendant’s plea agreement, the court finds

 Defendant GUILTY of Count 1 of the first superseding indictment in the above-numbered cause.

        SIGNED this 22nd day of November, 2010.



                                               __________________________________________
                                               T. JOHN WARD
                                               UNITED STATES DISTRICT JUDGE
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